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             Fish Consumption Notice - Mercury in Fish
          Produced by: Arkansas Department of Health· Arkansas Game and Fish Commission· Arkansas Department of Environmental Quality


                                                 Pregnant or Breastfeeding Women,
           Bodies of Water
                                                  Women Planning to be Pregnant,                                General Public
          Under a Fish Notice
                                                 and Children Under 7 Years of Age

1. Felsenthal Wildlife Refuge –                 Should not eat largemouth bass (13 inches or      Should not eat flathead catfish, gar, bowfin,
including the Saline River up to Stillions      longer), flathead or blue catfish, pickerel,      drum, pickerel or largemouth bass (16 inches
Bridge (Union, Bradley, Ashley Counties)        gar, bowfin or drum from this refuge.             in length or longer). No more than 2 meals
                                                                                                  per month of blue catfish and largemouth
                                                                                                  bass (13-16 inches in length) should be eaten
                                                                                                  from this refuge.

2. Ouachita River – from Camden to the          Should not eat largemouth bass, flathead          Should not eat largemouth bass, flathead
north border of the Felsenthal Wildlife         catfish, pickerel, gar or bowfin from this        catfish, pickerel, gar or bowfin from this
Refuge to include all associated ox-bow         river.                                            river.
lakes, backwater and overflow lakes and
barrow ditches (Union, Ouachita, Calhoun
Counties)

3. Saline River – from Highway 79 in            Should not eat blue catfish, flathead catfish,    Should not eat blue catfish, flathead catfish,
Cleveland County to Stillions Bridge in         gar, bowfin, drum, pickerel or largemouth         gar, bowfin, drum, pickerel, largemouth bass
Bradley and Ashley Counties                     bass (13 inches or longer) or redhorse (20        (over 16 inches in length) or redhorse (20
                                                inches or longer) from this river.                inches or longer). No more than 2 meals per
                                                                                                  month of largemouth bass (13-16 inches in
                                                                                                  length) should be eaten from this river.

4. Lake Columbia                                Should not eat pickerel, flathead catfish, gar,   Should not eat flathead catfish, gar, pickerel
(Columbia County)                               bowfin or largemouth bass (16 inches or           or bowfin. No more than 2 meals a month of
                                                longer) from this lake.                           largemouth bass (16 inches or longer) from
                                                                                                  this lake.

5. Cut-off Creek – from where the creek         Should not eat any fish from this creek.          Should not eat drum, buffalo, redhorse or
crosses Highway 35 in Drew County to                                                              suckers. No more than 2 meals per month of
where it joins with Bayou Bartholomew                                                             largemouth bass, catfish, crappie, gar,
                                                                                                  pickerel and bowfin from this creek.

6. Bayou Bartholomew –                          Should not eat flathead catfish, gar, bowfin,     Eat no more than 2 meals per month of
from the Drew/Ashley County Line to the         pickerel, or blue catfish (20 inches or           flathead catfish, gar, pickerel, bowfin, blue
Arkansas/Louisiana State Line                   longer), largemouth bass (12 inches or            catfish (20 inches or longer), largemouth
                                                longer) or buffalo (18 inches or longer) from     bass (12 inches or longer) or buffalo (18
                                                this bayou.                                       inches or longer) from this bayou.

7. Grays Lake                                   Should not eat flathead catfish (26 inches or     Should not eat largemouth bass over 16
(Cleveland County)                              longer), largemouth bass (13 inches or            inches in length. No more than 2 meals per
                                                longer), gar, bowfin or pickerel.                 month of gar, bowfin, pickerel, flathead
                                                                                                  catfish (26 inches or longer) or largemouth
                                                                                                  bass (13-16 inches in length) from this lake.

8. Moro Bay Creek – from Highway                Should not eat any fish from this creek.          Should not eat largemouth bass, catfish,
160 to where it joins with the Ouachita River                                                     crappie, gar, pickerel or bowfin. No more
(Bradley County)                                                                                  than 2 meals per month of bream, drum,
                                                                                                  buffalo, redhorse and suckers from this
                                                                                                  creek.




                     Additional bodies of water under a fish notice are listed on the next page.
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                                                Pregnant or Breastfeeding Women,
           Bodies of Water
                                                 Women Planning to be Pregnant,                              General Public
          Under a Fish Notice
                                                and Children Under 7 Years of Age

9. Champagnolle Creek – to include             Should not eat flathead catfish, gar, bowfin,    Eat no more than 2 meals per month of
Little Champagnolle from Highway 4 to          drum, pickerel or largemouth bass (13 inches     flathead catfish, gar, pickerel, bowfin or
where it joins with the Ouachita River         in length or longer) from this creek.            largemouth bass (13 inches or longer) from
(Calhoun County)                                                                                this creek.

10. Dorcheat Bayou                             Should not eat any fish from this bayou.         Should not eat largemouth bass (16 inches or
(Columbia County)                                                                               longer). No more than 2 meals per month of
                                                                                                catfish, crappie, gar, pickerel, bowfin or
                                                                                                largemouth bass (under 16 inches in length)
                                                                                                should be eaten from this lake.

11. Fouche La Fave River – from                Should not eat largemouth bass (16 inches or     Eat no more than 2 meals per month of
Nimrod Dam to where it joins with the          longer) from this river.                         largemouth bass (16 inches or longer) from
South Fouche (Perry County)                                                                     this river.

12. Nimrod Lake                                Should not eat largemouth bass (16 inches or     Eat no more than 2 meals per month of
(Yell and Perry Counties)                      longer) from this lake.                          largemouth bass (16 inches or longer) from
                                                                                                this lake.

13. Cove Creek Lake                            Should not eat largemouth bass (12 inches or     Should not eat largemouth bass (over 16
(Perry County)                                 longer) from this lake.                          inches in length). No more than 2 meals per
                                                                                                month of largemouth bass (12-16 inches in
                                                                                                length) should be eaten from this lake.

14. Lake Sylvia                                Should not eat largemouth bass (16 inches or     Eat no more than 2 meals per month of
(Perry County)                                 longer) from this lake.                          largemouth bass (16 inches or longer).

15. Dry Fork Lake                              Should not eat largemouth bass (16 inches or     Eat no more than 2 meals per month of
(Perry County)                                 longer) from this lake.                          largemouth bass (16 inches or longer) from
                                                                                                this lake.

16. Lake Winona                                Should not eat black bass (16 inches or          Eat no more than 2 meals per month of black
(Saline County)                                longer) from this lake.                          bass (16 inches or longer) from this lake.

17. Lake Fort Smith                            Should not eat black bass (16 inches or          Should not eat black bass (over 20 inches in
(Crawford County)                              longer) from this lake.                          length). No more than 2 meals per month of
                                                                                                black bass (16-20 inches in length) should be
                                                                                                eaten from this lake.

18. Johnson Hole – South Fork of the           Should not eat largemouth bass (16 inches or     Should not eat largemouth bass (16 inches or
Little Red River (Van Buren County)            longer) from this lake.                          longer) from this river area.

19. Lake Ouachita                              Should not eat largemouth bass (13 inches or     Eat no more than 2 meals per month of
(Garland and Montgomery Counties)              longer), white bass (13 inches or longer), or    largemouth bass (13 inches or longer), white
                                               striped bass (25 inches or longer) from this     bass (13 inches or longer), or striped bass
                                               lake.                                            (25 inches or longer) from this lake.

20. Spring Lake                                Should not eat largemouth bass (16 inches or     Eat no more than 2 meals per month of
(Yell County)                                  longer) from this lake.                          largemouth bass (16 inches or longer).

A free educational brochure titled "Mercury in Fish in Arkansas - What You Should Know" is available. If you do
not have a copy and would like one, please call 1-800-462-0599 or go to www.healthy.arkansas.gov.

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1.   Felsenthal Wildlife Refuge          8.   Moro Bay Creek           15.   Dry Fork Lake
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2.   Ouachita River                      9.   Champagnolle Creek       16.   Lake Winona
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3.   Saline River                       10.   Dorcheat Bayou           17.   Lake Fort Smith                          !
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4.   Lake Columbia                      11.   Fouche La Fave River     18.   Johnson Hole                                      Columbia                                   El Dorado
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5.   Cut-off Creek                      12.   Nimrod Lake              19.   Lake Ouachita                                                                          ¦
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6.   Bayou Bartholomew                  13.   Cove Creek Lake          20.   Spring Lake                                                                                                                                                              Crossett

7.   Grays Lake                         14.   Lake Sylvia                                                                                                                                                                             !
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